                    Case 1:23-cv-10637-LLS Document 54 Filed 06/14/24 Page 1 of 1

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                                                                     June 14, 2024



         VIA ECF

         Hon. Louis L. Stanton, U.S.D.J.
         United States District Court
         Southern District of New York
         500 Pearl Street York, New York 10007

                 Re:     Mullen Automotive, Inc. v. IMC Financial Markets, et al.,
                         Case No. 1:23-cv-10637-LLS

         Dear Judge Stanton:

                We represent Plaintiff Mullen Automotive, Inc. (“Mullen”) and write to respectfully
         request an extension of Plaintiffs’ time to file an opposition to Defendants’ pending Motion to
         Dismiss the First Amended Complaint [ECF No. 37] (the “Motion”) from June 17, 2024 to
         August 2, 2024. Defendants consent to this request.

                 Our firm was recently retained to take over as lead counsel for Mullen and filed notices
         of appearance on Wednesday, June 12, 2024. See ECF Nos. 51-53. We also expect to be
         retained to represent the individual Plaintiffs (Hyon Cha and Shayan Khorrani) next week. The
         additional time will allow our firm to review the pending motion and adequately to respond to
         the arguments therein.

                Accordingly, we respectfully request that Plaintiffs’ time to respond to the Motion be
         extended to August 2, 2024. We thank the Court for its attention to this matter.

                                                                     Respectfully,




                                                                     Stephen W. Tountas
         cc: All counsel of record (via ECF)
